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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                               Fort Worth Division

 OUTSOURCING FACILITIES ASSOCIA-
 TION, et al.,

             Plaintiffs,

       v.
                                             Civil Action No. 4:24-cv-00953-P
 UNITED STATES FOOD AND DRUG AD-
 MINISTRATION, et al.,

             Defendants.


                            Plaintiffs’ Reply in Support of a
                    Preliminary Injunction and Stay Pending Review
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                                              Introduction

        The Administrative Record confirms that FDA initially declared the tirzepatide shortage

resolved in October knowing nothing about the supply or demand for branded tirzepatide products,

let alone compounded products.



                                                                                                  FDA

did not bother to ask the most basic questions about the materials until after this action was filed

and this Court remanded to the agency. See FDA415. FDA’s second attempt in the Delisting Action

is equally reckless and arbitrary. FDA apparently missed (and still does not acknowledge) that



                                                                  Even as the agency insists it under-

stood




                                                               FDA’s evident confusion only under-

scores its error in departing from the straight course that it initially set out for itself: determining

whether the shortage is over because supply exceeds demand over a “set period of time.” Decision

3. Unless and until FDA can reasonably answer that question, it has no basis to put patients at risk

by depriving them of access to compounded drugs. The agency’s failure to safeguard patient access

according to Congress’s design requires the Court’s intervention.

I.      Plaintiffs Are Substantially Likely To Succeed on the Merits

        A.     FDA Unlawfully Promulgated the Delisting Action

        No party disputes that the Delisting Action qualifies as a substantive rule, which would

ordinarily be subject to the APA’s rulemaking procedures. Instead, FDA insists that it could pro-

ceed through adjudication rather than rulemaking. But FDA did not conduct an adjudication and

could not have consistent with the statute.




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       1.      FDA argues (at 19) that an agency can end-run the APA’s rulemaking requirements

by conducting an “adjudication” involving no parties to declare generally applicable substantive

law. But “[t]he existence of a dispute concerning particular individuals is a distinguishing charac-

teristic of adjudication.” McDonald v. Watt, 653 F.2d 1035, 1042 (5th Cir. 1981); see also BNSF

Ry. Co. v. Fed. R.R. Admin., 105 F.4th 691, 701 (5th Cir. 2024) (similar). FDA and Lilly do not

dispute that there were no parties to this “adjudication,” see Mot.9, and that the Delisting Action

applies “not to any individual parties” but an entire industry, Safari Club Int’l v. Zinke, 878 F.3d

316, 333 (D.C. Cir. 2017). There was no adjudication.

       Unable to find any case approving this kind of non-adjudicatory adjudication, FDA quotes

loosely worded dicta discussing two cases involving bog-standard adjudications of party petitions

seeking relief that, collaterally and through res judicata, also affected other parties. City of Arling-

ton, Tex. v. FCC, 668 F.3d 229, 243 (5th Cir. 2012) (discussing Qwest Services Corp. v. FCC, 509

F.3d 531 (D.C. Cir. 2007), and Chisholm v. FCC, 538 F.2d 349 (D.C. Cir. 1976)). The same case

recognized that adjudication involves an agency’s determination of “rights…of parties properly

before it” and cannot be “divorced from any specific application of the statute.” Id. at 242–43.

Here, by contrast, FDA had no parties before it and made a decision intended “for prospective

application only, rather than in adjudicating a particular set of disputed facts.” United States v.
Florida East Coast Ry. Co., 410 U.S. 224, 246 (1973). If that qualifies as adjudication, then the

APA’s rulemaking procedures are entirely optional.

       2.      FDA has no direct answer to the point that statutes requiring agencies to make list-

ings that trigger generally applicable legal consequences necessarily entail rulemaking. See Mot.8.

The reason is that listing actions—whether for endangered species, tax-abusive transactions, CER-

CLA sites, or drugs in shortage—that create prospective obligations without respect to specific

party are rules. FDA cannot distinguish the abusive-transactions cases recognizing as much on the

basis that the actions there “‘create[d] new substantive duties,’” FDA.Opp.21, because that is ex-

actly what the Delisting Action did. And it does not attempt to distinguish all the other statutory

listing schemes. The point is not, as FDA misconstrues it (at 19–20), that any action triggering


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legal consequences must go through rulemaking; rather, it is that a listing decision made outside

of a case involving specific parties is not an adjudication. That is the difference between FDA’s

deciding a manufacturer’s new-drug application and its removing a drug from the shortage list.

See Safari Club, 878 F.3d at 334.

       3.      FDA does not show that Congress “expressly,” 5 U.S.C. § 559, displaced the APA’s

notice-and-comment provisions in Section 506E, see FDA.Opp.17–18. First, the directive to keep

the shortage list “up-to-date” certainly did not, especially where the APA’s “good cause” exception

contemplates circumstances requiring expedition. Second, the statute’s incorporation of generally

applicable confidentiality provisions does not make “meaningful notice-and-comment” impossi-

ble, as shown by FDA’s disclosure of extensive factual information and reasoning in its Order and

the redacted Decision here. Moreover, the statutory default is to make listing information “publicly

available.” 21 U.S.C. § 356e(c)(1). That some drug manufacturers might seek to maintain the con-

fidentiality of their own business information—as businesses may do in any FDA proceeding, 21

C.F.R. § 20.61—does not justify shutting the public out completely and in all instances. Third, the

same goes for FDA’s limited discretion to withhold information from the public, which the agency

has never sought to exercise here. FDA has zero authority for its position that provisions authoriz-

ing confidentiality in limited circumstances evince any intent to override the APA. Overall, FDA’s
argument for displacement is far weaker than the one rejected by Mann Construction, Inc. v. United

States, 27 F.4th 1138, 1145–48 (6th Cir. 2022), where the statute cross-referenced rules of practice

permitting the agency to act without notice and comment. And FDA concedes (at 17) the statute

here does not prescribe any “new procedure” in place of the APA’s generally applicable one. Id.

       4.      Both FDA and Lilly ignore the Fifth Circuit’s holding that no showing of prejudice

is necessary when agencies fail to subject substantive rules to notice and comment. W & T Off-

shore, Inc. v. Bernhardt, 946 F.3d 227, 237 (5th Cir. 2019). In any event, the prejudice here is plain.

FDA insists (at 23) that a post buried on its website and some newspaper articles were practically

as good as full-fledged Federal Register notice. But it overlooks that a notice has both reach and

substance. Not only was the interested public never informed that the agency was contemplating


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ending shortage-based compounding, but the agency never told anyone what information it was

looking for or how it would evaluate it. Aside from Lilly with its direct line to FDA decisionmak-

ers, not a single party was able to guess what FDA might consider. FDA essentially admits (at 23)

that all it was willing to consider was the sort of “detailed nationwide supply-and-demand data”

potentially only available to the manufacturer. Had FDA provided notice of that, Plaintiffs and

others could have attempted to meet the agency’s standard or explained to the agency why that

was wrongheaded and would disregard much probative evidence. 1

         B.       The Delisting Action Is Arbitrary, Without Basis, and Contrary to Law

         The opposition briefs fail to identify (1) a level of supply (2) that exceeds demand (3) over

some set time period. See Lilly.Opp.10–13; FDA.Opp.6–12. If “a wealth of information” truly

“spoke directly to [the] comprehensive nationwide inquiry,” Lilly.Opp.10, then it should have been

easy for FDA and Lilly to state, for example, that Lilly’s monthly supply is X million doses and

its monthly demand is Y million doses.



                                                                              Without an apples-to-apples com-

parison of supply and demand over a set time period, the Delisting Action cannot stand.

         1.       FDA denies (at 12) that it needed to analyze over a set time period, 2 but it claims
to have implemented a statute defining shortage as “a period of time” where demand exceeds

supply. Decision 3 (quoting 21 U.S.C. § 356c(h)(2)) (emphasis added). This required “a single

statutorily compliant” time period. Niz-Chavez v. Garland, 593 U.S. 155, 163 (2021). Because

FDA applied the wrong legal test, the Decision is “not in accordance with law.” 5 U.S.C.

§ 706(2)(A). It is also arbitrary. A shortage analysis requires a choice of time period because orders

1
  Lilly takes out of context the statement in Perez v. Mortgage Bankers Association about agencies using “the same
procedures when they amend or repeal a rule as they used to issue the rule.” 575 U.S. 92, 101 (2015). The court’s
point was that there’s no difference in the procedures “required” at each stage, id., not that whatever the agency did at
issuance necessarily applies to amendments or repeal. It could not have meant that: agencies like the Internal Revenue
Service long eschewed notice and comment for substantive rules, Kristin Hickman, It’s Time To Let Go: Treasury
Regulations Are Not Interpretative Rules, Tax Notes (June 16, 2022), while other agencies regularly undertake notice
and comment where it’s not required, such as for guidance documents, see Nicholas Parillo, Should the Public Get To
Participate Before Federal Agencies Issue Guidance?, 71 Admin. L. Rev. 57 (2019).
2
  Oddly, Lilly contends (at 13) that FDA did analyze “a given period” but is unable to state what that was.


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and product are constantly coming and going and inconsistent use of time periods can obfuscate

whether product is available to satisfy orders.




       2.




                                                      Did FDA even notice?


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                                                        Inventory works like a checking account,

 where a snapshot conveys little: an account statement listing a $4,000 balance on December 15

 may conceal a shortfall if there’s a $4,500 mortgage payment due to be debited on December 16.

        So too here.




                            Lilly easily could have presented a proper inventory accounting show-
 ing opening inventory, closing inventory, and total orders for a series of months or quarters.

 Mot.18. That it didn’t should speak volumes—at least, to an agency seeking to listen.




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        4.      FDA relied on Lilly’s presentation to discredit what it admits (at 8) is “a variety of

 other sources” showing “that Mounjaro or Zepbound products were out of stock or limited in the

 amount that could be ordered.” Notably, all information other than Lilly’s secret submissions point

 to a shortage, and FDA and Lilly cite no corroborative evidence that the shortage is resolved. FDA

 credited Lilly’s showing over all other evidence, FDA.Opp.9, but missed that




                                                   Lilly contends (at 14) that everyone else’s infor-

 mation can be disregarded because Lilly’s is more “comprehensive.” Setting aside the limita-

 tions—and contradictions—in Lilly’s showing, it would not be possible for anyone but the manu-

 facturer to provide information like the manufacturer has, so Lilly’s point is essentially that man-

 ufacturers have an absolute right to declare shortages over based on their irrebuttable say-so.

        Both FDA and Lilly fail to address the breadth of evidence of wholesaler unavailability,

 which refutes their “localized” narrative. FDA.Opp.12.




                                                                                   the fact that access

 was unavailable in four far-flung states is overriding evidence of shortage on a national level.

 Addressing supply while ignoring demand fails yet again to get at the problem.

        This evidence should have prompted FDA to investigate. FDA’s response (at 15 n.7) that it

 need not “‘conduct [its] own empirical or statistical studies’” does not excuse its “failure to adduce

 empirical data that can readily be obtained,” FCC v. Fox Television Stations, Inc., 556 U.S. 502,

 519 (2009), such as from Big Three wholesalers, national providers, and trade associations. And


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 there is no excuse for FDA’s “decision to ask for—and then ignore—already-existing data it did

 not want to consider.” Chamber of Com. of U.S. v. SEC, 85 F.4th 760, 776 (5th Cir. 2023).

 II.     The Equities Weigh Heavily in Favor of an Injunction and Stay

         A preliminary injunction would continue the state of affairs that has existed since Decem-

 ber 2022. That harms no one and benefits the public. Without an injunction, Plaintiffs and patients

 will suffer irreparable harm. The equitable balance here presents no contest.

         A.       Lilly is incorrect in denying (at 20–22) that Plaintiffs will suffer irreparable harm

 without an injunction. It acknowledges (at 20) that FarmaKeio “compounds tirzepatide” and does

 not deny that, without an injunction, FarmaKeio will suffer lost revenue that cannot be recouped

 due to FDA’s sovereign immunity. Mot.23. Lilly’s argument (at 20–22) that pharmacies like

 FarmaKeio are not permitted to compound essential copies of tirzepatide during a shortage has no

 place in this case. FDA (correctly 4) understands that FarmaKeio has that right when tirzepatide is
 in shortage. FDA.Opp.4. Congress made explicit that only FDA may enforce the FDCA.

 21 U.S.C. § 337(a); see Nexus Pharms., Inc. v. Cent. Admixture Pharmacy Servs., Inc., 48 F.4th

 1040, 1050 (9th Cir. 2022) (rejecting claim of manufacturer against compounder where FDA de-

 clined to act). Without an injunction, FDA will pursue compounding of essential copies by

 FarmaKeio, but it will not with an injunction. That is classic irreparable harm. And Plaintiff OFA’s

 members are outsourcing facilities that Lilly concedes may compound essential copies during a

 shortage, and all of their rights are at issue here—including those of Olympia Pharmacy and PQ

 Pharmacy, which compound tirzepatide, Decision 24; Rosebush Supplemental Declaration ¶ 3. 5

         B.       FDA and Lilly’s balance-of-equities arguments add nothing to their position on the

 merits. If they are wrong on the likelihood of success, then an injunction would not “give effect to


 4
   Lilly’s statutory argument is wrong. Section 503A prohibits compounding “essential[] copies of a commercially
 available drug product,” 21 U.S.C. § 353a(b)(1)(D), and products in shortage are not commercially available, see
 Webster’s New World College Dictionary (4th ed. 2007) (“available” means “that can be gotten, had, or reached;
 handy”). Lilly erroneously compares (at 21–22) language enacted in 1997 in Section 503A, PL 105–115, November
 21, 1997, 111 Stat 2296, § 127(a), with language enacted in 2013 in Section 503B. See Cent. Bank of Denver, N.A. v.
 First Interstate Bank of Denver, N.A., 511 U.S. 164, 186 (1994).
 5
   There is no obligation to disclose member identities in a complaint. Hancock Cnty. Bd. of Sup’rs v. Ruhr, 487 F.
 App’x 189, 198 (5th Cir. 2012).


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 the balance Congress struck,” FDA.Opp.24, because “Congress has … authorized some com-

 pounding when a drug is in shortage,” Lilly.Opp.4. Likewise, because FDA erred in declaring the

 shortage resolved, Lilly enjoys no “statutory exclusivity,” Lilly.Opp.22, which is not in any event

 within the statute’s zone of interests, cf. Nexus, 48 F.4th at 1050. FDA’s point (at 24) about “safety

 protections” is a quarrel with Congress, which deemed the protections of Sections 503A and 503B

 sufficient during shortages. So is Lilly’s misleading history of compounding (at 5–7), which is not

 germane to activities under the scheme Congress adopted. And Congress has not “tried to stop”

 compounding. Lilly.Opp.5. That would have been easy. Instead, Congress generally authorized

 compounding by state-regulated pharmacies in Section 503A and then enacted Section 503B to

 authorize outsourcing facilities to compound large batches of sterile drugs without individual pa-

 tient prescriptions, subject to stringent regulatory requirements including the same current Good

 Manufacturing Practice standards that apply to Lilly.

         It is unfortunate that Lilly sees the attention to this litigation as an opportunity for a press

 statement against its commercial competitors. Lilly.Opp.23–24. Lilly should not throw stones. Its

 tirzepatide products are subject to tens of thousands of adverse-incident reports. Mot.25. FDA in-

 spections have faulted it for serious deficiencies, including in “quality control,” in injectable-prod-

 uct manufacturing facilities. 6 Its products have been subject to recalls based on serious safety
 breaches and other failings. 7 The company pleaded guilty to charges for failing to inform FDA that

 one of its drugs caused numerous “deaths and toxic reactions.” 8 By comparison, the single incident

 Lilly identifies (at 23–24) concerning a Plaintiff resulted in no reported patient injuries, had noth-

 ing to do with tirzepatide, and has no bearing on injunctive relief, which would not prevent FDA’s

 enforcing safety requirements.

                                                CONCLUSION

         The Court should enter a preliminary injunction and stay FDA’s Delisting Action.


 6
   E.g., Eli Lilly, Press Release, FDA Issues Warning Letter After Inspection, Mar. 8, 2001.
 7
   E.g., FDA, Eli Lilly and Company Issues Voluntary Nationwide Recall of One Lot of GLUCAGON® Emergency
 Kit Due to Loss of Potency, Sept. 26, 2021.
 8
   Marlene Cimons, Eli Lilly Pleads Guilty of Failure to Disclose Oraflex-Linked Deaths, L.A. Times, Aug. 22, 1985.


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